                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:15 cr 85-1


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )              ORDER
                                               )
JAMES DEE BALL,                                )
                                               )
      Defendant.                               )



      THIS MATTER is before the Court on Charles R. Brewer’s Application for

Admission to Practice Pro Hac Vice of Alton Burnell Johnson. It appearing that

Alton Burnell Johnson is a member in good standing with the Georgia State Bar and

will be appearing with Charles R. Brewer, a member in good standing with the Bar

of this court, that all admission fees have been paid, and that the email address of the

attorneys seeking admission has been provided, the Court enters the following

Order.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the Application for Admission to

Practice Pro Hac Vice (#145) is GRANTED, and that Alton Burnell Johnson is




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ADMITTED to practice, pro hac vice, before the Bar of this Court while associated

with Charles R. Brewer.



                                    Signed: October 14, 2015




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